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                       UNITED STATES DISTRICT COURT FOR THE
                                DISTRICT OF ARIZONA


  JASON CREWS,

                         Plaintiff,

                 vs.
                                                       Civil Action Filing No.: 2:23-cv-970-DLR
  CRYPTO FREEDOM PAC, CLUB FOR
  GROWTH, and DAVID MCINTOSH,

                         Defendants.



              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE BY
                           PLAINTIFF JASON CREWS

        Plaintiff Jason Crews, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

 hereby voluntarily dismisses this action with prejudice.


Dated: June 30, 2023                      Respectfully Submitted,

                                          JASON CREWS
                                          BY:            /s/Jason Crews
                                          1515 N. Gilbert Rd,
                                          Suite 107-204
                                          Gilbert, AZ 85234
                                          Jason.crews@gmail.com
                                          602.295.1875

                                          Plaintiff
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                                CERTIFICATE OF SERVICE

         I hereby certify that this day the foregoing NOTICE OF VOLUNTARY DISMISSAL

WITH PREJUDICE BY PLAINTIFF JASON CREWS was electronically filed with the Clerk of

Court using the CM/ECF system, which will be served on Defendants via First Class mail and

email.


         This 30th day of June 2023.


                                                  Jason Crews




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